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                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 23-4728


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        DEWAYNE LAMONT RICHMOND,

                             Defendant - Appellant.



                                               No. 23-4729


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        DEWAYNE LAMONT RICHMOND,

                             Defendant - Appellant.



        Appeals from the United States District Court for the Middle District of North Carolina, at
        Greensboro. Loretta C. Biggs, District Judge. (1:22-cr-00336-LCB-1; 1:13-cr-00055-
        LCB-1)


        Submitted: August 22, 2024                                     Decided: August 26, 2024
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        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        No. 23-4728, affirmed in part and dismissed in part; No. 23-4729, affirmed by unpublished
        per curiam opinion.


        ON BRIEF: Sandra Payne Hagood, LAW OFFICE OF SANDRA PAYNE HAGOOD,
        Chapel Hill, North Carolina, for Appellant. Jacob Darriel Pryor, Assistant United States
        Attorney, OFFICE OF THE UNITED STATES ATTORNEY, Greensboro, North
        Carolina, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

               In 2013, Dewayne Lamont Richmond pleaded guilty to possession of a firearm by

        a felon, in violation of 18 U.S.C. § 922(g). The district court sentenced Richmond to 115

        months’ imprisonment, followed by three years’ supervised release. In 2023, while on

        supervised release, Richmond pleaded guilty, pursuant to a written plea agreement, to

        possession with intent to distribute cocaine, in violation of 21 U.S.C. § 841(a)(1), and

        possession of a firearm by a felon, in violation of § 922(g)(1). The district court sentenced

        Richmond to a total of 160 months’ imprisonment, followed by three years’ supervised

        release.

               Based on his new convictions and other conduct, Richmond admitted to violating

        the terms of his supervised release. The district court therefore revoked his supervised

        release and sentenced him to a term of 24 months’ imprisonment, to run consecutively to

        the sentence for the new criminal offenses. Richmond appealed both judgments and

        counsel has filed a brief pursuant to Anders v. California, 386 U.S. 738 (1967), asserting

        that there are no meritorious grounds for appeal but questioning in No. 23-4729 whether

        the court abused its discretion in finding Richmond violated the terms of supervised release

        and whether the sentence for the supervised release violations was reasonable, and in No.

        23-4728 whether Richmond’s appeal waiver was valid and whether there are any

        meritorious issues falling outside the cope of the waiver. The Government has moved to

        dismiss Richmond’s appeal of the new criminal convictions in No. 23-4728 as barred by

        Richmond’s waiver of his appellate rights contained in the plea agreement. For the

        following reasons we affirm in part and dismiss in part.

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               With respect to Richmond’s appeal of the supervised release revocation judgment

        in No. 23-4729, a district court may revoke supervised release if it “finds by a

        preponderance of the evidence that the defendant violated a condition of supervised

        release.”   18 U.S.C. § 3583(e)(3).     We review a district court’s decision to revoke

        supervised release for abuse of discretion and its factual findings underlying the revocation

        for clear error. United States v. Padgett, 788 F.3d 370, 373 (4th Cir. 2015). We conclude

        that the district court did not err in revoking Richmond’s supervised release based on his

        admission to the violations and guilty plea to the new criminal conduct.

               With respect to Richmond’s revocation sentence “[a] district court has broad

        discretion when imposing a sentence upon revocation of supervised release.” United States

        v. Webb, 738 F.3d 638, 640 (4th Cir. 2013). Thus, we will “affirm a revocation sentence

        so long as it is within the prescribed statutory range and is not plainly unreasonable.”

        United States v. Coston, 964 F.3d 289, 296 (4th Cir. 2020) (internal quotation marks

        omitted). When reviewing whether a revocation sentence is plainly unreasonable, we first

        determine “whether the sentence is unreasonable at all.” Id. (internal quotation marks

        omitted).

               “A revocation sentence is procedurally reasonable if the district court adequately

        explains the chosen sentence after considering the Sentencing Guidelines’ nonbinding

        Chapter Seven policy statements and the applicable 18 U.S.C. § 3553(a) factors,” id. at 297
        (internal quotation marks omitted), and the explanation indicates “that the court considered

        any potentially meritorious arguments raised by the parties,” United States v. Patterson,

        957 F.3d 426, 436-37 (4th Cir. 2020) (internal quotation marks omitted). “A court need

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        not be as detailed or specific when imposing a revocation sentence as it must be when

        imposing a post-conviction sentence, but it still must provide a statement of reasons for the

        sentence imposed.” United States v. Thompson, 595 F.3d 544, 547 (4th Cir. 2010) (internal

        quotation marks omitted). “A revocation sentence is substantively reasonable if, in light

        of the totality of the circumstances, the court states an appropriate basis for concluding that

        the defendant should receive the sentence imposed.” Coston, 964 F.3d at 297 (internal

        quotation marks omitted).

               We conclude that Richmond’s revocation sentence is both procedurally and

        substantively reasonable.     When imposing its sentence, the district court correctly

        calculated the policy statement range, considered the relevant statutory factors, imposed a

        sentence within the statutory maximum, gave sufficiently detailed reasons for its decision,

        and addressed Richmond’s arguments for a lesser sentence. Specifically, in imposing a

        sentence within the policy statement range, the court explained that Richmond had

        committed several violations starting only a year after he had been released onto

        supervision.

               Next, we conclude that Richmond has waived his right to his sentence for the new

        criminal conduct in No. 23-4728. As we have explained, a defendant may, in a valid plea

        agreement, waive the right to appeal under 18 U.S.C. § 3742. See United States v. Wiggins,

        905 F.2d 51, 53 (4th Cir. 1990). This court reviews the validity of an appellate waiver de

        novo and will enforce the waiver if it is valid and the issue appealed is within the scope

        thereof. United States v. Blick, 408 F.3d 162, 168 (4th Cir. 2005).



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               An appeal waiver is valid if the defendant knowingly and intelligently agreed to the

        waiver. Id. at 169. “To determine whether a defendant knowingly and voluntarily agreed

        to waive his appellate rights, we look to the totality of the circumstances, including the

        defendant’s experience, conduct, educational background and knowledge of his plea

        agreement and its terms.” United States v. Carter, 87 F.4th 217, 224 (4th Cir. 2023).

        “Generally, . . . if a district court questions a defendant regarding the waiver of appellate

        rights during the [Fed. R. Crim. P.] 11 colloquy and the record indicates that the defendant

        understood the full significance of the waiver, the waiver is valid.” Id. (internal quotation

        marks omitted).

               Based on the totality of circumstances, we conclude that Richmond knowingly and

        voluntarily entered his guilty plea and understood the appeal waiver.             Moreover,

        Richmond’s appeal waiver included his right to appeal his convictions and sentence on any

        grounds except for a sentence in excess of the statutory maximum or based on an

        impermissible factor. We therefore grant the Government’s motion in part and dismiss

        Richmond’s appeal in No. 23-4728 as to all issues within the scope of the appellate waiver.

               In accordance with Anders, we have reviewed the entire record in these appeals and

        have found no meritorious grounds for appeal. We therefore affirm the district court’s

        revocation judgment in No. 23-4729, affirm Richmond’s convictions in No. 23-4728, and

        dismiss the remainder of the appeal in No. 23-4728. This court requires that counsel inform

        Richmond, in writing, of the right to petition the Supreme Court of the United States for

        further review. If Richmond requests that a petition be filed, but counsel believes that such

        a petition would be frivolous, then counsel may move in this court for leave to withdraw

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        from representation. Counsel’s motion must state that a copy thereof was served on

        Richmond.

              We dispense with oral argument because the facts and legal contentions are

        adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                  No. 23-4728, AFFIRMED IN PART AND DISMISSED IN PART;
                                                                  No. 23-4729, AFFIRMED




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